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Western Division

 

UNITED STATES OF AMERICA

 

‘;-;1 l-:i:aiPHlS
-vs- Case No. 2:96cr20173-M1
97-20123-1\/11 /
NAPOLEON FROST

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlNDINGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(9, a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant is not currently eligible for release due to pending matters in another
jurisdiction; to wit, the defendant is serving a sentence from another case.

*** Probable Cause hrg set Friday July 29, 2005 @ 10:00am in CR #5***
D|RECT|ONS REGARDING DETENTION

NAP()LEON FROST is connnitted to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. NAPOLEON FROST shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Dcfendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: July26,2005 O<(l,L£M/L`FJ K. /QMM

DIANE K. vsscc')vo
UNITED srATEs MAGISTRATE JUDGE

Th'ts document entered on the docket sheet in compliance

With Ru|e 215 arie;.l;'or 32(b) FRCrP on E'£ ijQ

     

UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:97-CR-20120 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

